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11th JUDICIAL CIRCUIT COURT
MIAMI“DA])E COUNTY, FLORIDA
CASE NO.?

BRIGETTE GANDARILLAS,
Plaintiff,

VS.

EQUIFAX INFORMATION SERVICES LLC,
AMERICAN HONDA FINANCE CORPORATION,
COMENITY BANK, and
BANK OF AMERICA, N.A..,

Defendants.

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(Jury Demand)
In u ` n
l. This is an action for actual and statutory damages brought by an
individual consumer for Defendants' violations of the F air Credit Reporting Act, 15
U.S.C. § 1681, et seq., (“FCRA").
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2. The amount in controversy in this action exceeds the sum indicated in
Florida Statutes § 34.01(0), thus this action is subject to the jurisdiction of this
Honorable Court, as prescribed by Florida Statutes § 26.012(2)(a).
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3. Venue in this Court is proper because Defendants transact business in

Miami'Dade County and the conduct complained of occurred in Miarni'Dade

County.

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4. Plaintiff Brigette Gandari.llas ("Gandarillas") is a natural person residing
in Miami'Dade County, Florida.

5. Gandarillas is a "consumer" according to 15 U.S.C. § 1681a(c).

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6. Defendant Equifax Information Services LLC ("Equifax") is a business
entity that regularly conducts business in Miami~Dade County, Florida, and has a
principal place of business located in Atlanta, Georgia.

'7. Equifax is a "consumer reporting agency" according to 15 U.S.C. §
1681a(f).

8. Equifax is regularly engaged in the business of assembling, evaluating
and distributing information concerning consumers for the purpose of furnishing
"consumer reports" to third parties, according 15 U.S.C. § 16813(d).

9. Equifax provides such consumer reports to third parties in exchange for
money.

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10. Defendant American Honda Finance Corporation, ("American Honda"), is
a business entity that regularly conducts business in Miami-Dade County, Florida,
and has a principal place of business located in Torrance, California,

1 1. American Honda regularly and in the course of its business provides
information to consumer reporting agencies about its transactions or experiences

with consumers

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12. American Honda is a "furnisher" according to 15 U.S.C. § 1681s~2.
Comenity

13. Defendant Comenity Bank, ("Comenity"), is a business entity that
regularly conducts business in Miarni'Dade County, Florida, and has a principal
place of business located in Wilmington, Delaware.

14. Comenity regularly and in the course of its business provides information
to consumer reporting agencies about its transactions or experiences with
consumers

15. Comenity is a "furnisher" according to 15 U.S.C. § 1681s'2.

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16'. Defendant Ban_k of America, N.A., ("BofA"), is a business entity that
regularly conducts business in Miami'Dade County, Florida, and has a principal
place of business located in Charlotte, North Carolina.

17. BofA regularly and in the course of its business provides information to
consumer reporting agencies about its transactions or experiences With consumers

18. BofA is a "furnisher" according to 15 U.S.C. § 1681s'2.

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19. On 26 November 2008, Gandarillas filed a Chapter 13 bankruptcy
petition in the United States Bankruptcy Court for the Southern District of Florida,
Case No. 08'28145'RAM.

20. On 1 September 2009, Gandarillas obtained a bankruptcy discharge of

her debts.

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21. On or about June 2012, Gandarillas received a consumer report from
Equifax dated 7 June 2011.

22. Equifax’s consumer report contained the following incorrect information!

a. CHASE account # 465193916*** was shown with payment history
through February 2011 and was shown with a date closed of October 2010 even
though the account was discharged through bankruptcy

b. AMERICAN HONDA FINANCE [a.k.a. American Honda] #8513*** was
shown with comments “Bankruptcy chapter 13” when this account Was not
discharged, was paid directly to the creditor, and Gandarillas completed paying this
loan in accordance with the initial loan terms on or about September 2011 at Which
time the loan was paid in full.

c. WFNNB/'LTD [a.k.a. Comenityl account # 84504*** was shown as “closed
at consumers request” when there was no debt discharged since the account was not
included in the bankruptcy

d. BAC HOME LNS LP/CTRYWDE [a.k.a. BofA] account #13002*** was
shown with a “current status” of “120+ past due” even though the account was
discharged through bankruptcy

23. On or about June 2012 GANDARIALLAS disputed with Equifax the
incorrect information pertaining to the CHASE, AMERI CAN HONDA FINANCE,
WFNNB/LTD, and BAC HOME LNS/CTRYWDE.

24. Instead of conducting an independent investigation of Gandarillas'

dispute, Equifax only contacted CHASE, AMERICAN HONDA FINANCE,

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WFNNB/LTD, BAC HOME LNS/CTRYWDE, and GULF COAST COLLECTION
BURE.

25. On or about 9 July 2012 Equifax responded to Gandarillas‘s dispute and
continued to report incorrect information pertaining to!

a. CHASE (1`.e., that the account was closed on 10/2010 when the account
should reflect that it was closed no later than the date of the bankruptcy discharge,
9/2009).

b. AMERICAN HONDA FINANCE (i.e., that the account was delinquent,
when in fact the account was never delinquent, and that the account was included
in the "Bankruptcy Chapter 13" when it was not)-

c. WFNN`.B/LTD ["The Limited“] (1'.9., that the account was delinquent when
it fact it was not).

d. BAC HOME LNS/CTRYWDE (1'.e., that the account was delinquent after
the bankruptcy iiling and the bankruptcy discharge).

26. At all relevant times, Equ_ifax reported the incorrect information about
Gandarillas's to users of its consumer reports.

27. As a result of the reporting of the incorrect information in the consumer
reports, Gandarillas has suffered damage by loss of credit, loss of ability to purchase
and benefit from credit, diminished credit reputati.on, decreased credit score,
monetary losses relating to credit denials, loss of use of funds, loss of credit and loan
opportunities, excessive and/or elevated interest rate and inance charges, out-of-

pocket expenses including, but not limited to, local or long distance telephone calls,

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postage, faxing and other related actual and opportunity costs.

28. As a result of the reporting of the consumer information in the consumer
reports, Gandarillas has suffered mental and emotional pain, humiliation and
embarrassment

29. Equifax’s investigations of Gandarillas's disputes consisted of sending
information to CH.ASE, AMERICAN HONDA FINANCE, WFNNB/LTD, and BAC
HOME LNS/CTRYWDE, so that they could do their own investigation, and then
parroting the result of those investigations

30. Thus, Equifax did not independently investigate Gandarillas's disputes
that the information in her consumer reports and consumer file was inaccurate.

31. Even though Gandarillas provided Equifax with ample proof that the
information it was reporting about him was inaccurate, Equifax stuck to its
procedure of merely parroting the results of the information it received from its
furnishers of information

32. Had Equifax used a procedure whereby it conducted its own independent
investigation"when faced with proof that the information supplied by its furnishers
was inaccurate"EquifaX would not have reported inaccurate information about
Gandarillas.

33. Equifax’s practice of merely parroting the results of its furnishcrs’
investigations is not a reasonable procedure which assures maximum possible

accuracy in the preparation of consumer reports and consumer files.

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Coun§ _I_
[Equifax: Vioiation of 15 U.s.C. § 1681e(b)]

34. Gandarillas realleges and incorporates here paragraphs 1 through 33.

35. Equifax Violated 15 U.S.C. § 1681e(b) by failing to establish or follow
reasonable procedures to assure maximum possible accuracy in the preparation of
the consumer reports and consumer file it published and maintained about
Gandari]_las.

36. As a result of the conduct, actions and inactions of Equifax, Gandarillas
has suffered and incurred damages

37. The conduct, actions and inactions of Equifax was willful, rendering it
liable for punitive damages in an amount to be determined by the Court, according
to 15 U.S.C. § 1681n.

38. In the alternative, Equifax was negligent, entitling Gandarillas to
recover damages according to 15 U.S.C. § 16810.

39. Gandarillas is entitled to recover costs and attorney's fees from E.quifax
in an amount to be determined by the Court, according to 15 U.S.C. § 1681n and 15
U.S.C. § 16810.

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[Equirax: violation of 15 U.s.c. § issu(a)]

40. Gandarillas realleges and incorporates here paragraphs 1 through 33.
111. Equifax violated 15 U.S.C. § 1681i(a) byf
(i) failing to review and consider all relevant information submitted by

Gandarillas concerning the dispute of the inaccurate information;

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(ii) failing to delete inaccurate information in its file of Gandarillas after
receiving actual notice of such inaccurach

(iii) failing to provide all relevant information received from Gandarillas to
the furnisher of the information;

(iv) failing to conduct a reasonable reinvestigation concerning the inaccurate
information after receiving notice of the dispute from Gandarillas;

(v) failing to delete the inaccurate information contained in its file of
Gandarillas after reinvestigation;

(vi) failing to maintain reasonable procedures with which to filter and verify
disputed information in its consumer file of Gandarillas.

42. As a result of the conduct, actions and inactions of Equifax, Gandarillas
has suffered and incurred damages

43. The conduct, actions and inactions of Equifax was willful, rendering it
liable for punitive damages in an amount to be determined by thc Court, according
to 15 U.s.C. § 1681n.

44. ln the alternative, Equifax was negligent, entitling Gandarillas to
recover damages according to 15 U.S.C. § 16810.

45. Gandarillas is entitled to recover costs and attorney‘s fees from Equifax
in an amount to be determined by the Court, according to 15 U.S.C. § 1681n and 15
U.S.C. § 16810.

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[American Honda! Violation of 15 U.S.C. § 1681s'2(b)]

46. Gandarillas realleges and incorporates here paragraphs 1 through 9, 10'

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12, and 19'33.

47. American Honda violated 15 U.S.C. § 1681s'2(b) byi

(i) failing to fully and reasonably investigate the disputes by Gandarillas of
the negative information in the consumer reports;

(ii) failing to review all relevant information regarding Gandarillas in the
consumer reports;

(iii) failing to correctly report the results to the consumer reporting agencies
of what an accurate investigation of Gandarillas would have revealed;

(iv) publishing the negative information about Gandarillas to the credit
reporting agencies without also including a notation that the debt was disputed;

(v) failing to conduct an investigation of the inaccurate information that
gandarillas disputed;

(vi) failing to review all relevant information it received concerning its
account of Gandarillas;

(vii) failing to report the results of its investigations about Gandarillas to the
relevant consumer reporting agencics§

(viii) failing to report the inaccurate status of the inaccurate information
about Gandarillas to all consumer reporting agencies;

(ix) failing to properly participate, investigate and comply with the
reinvestigations that Were conducted by any and all consumer reporting agencies
concerning the inaccurate information disputed by Gandarillas;

(X) failing to provide to the relevant consumer reporting agencies with the

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factual information and evidence that Gandarillas submitted to it, and which
proved that the information concerning Gandarillas was inaccurate;

(xi) continuing to furnish and disseminate inaccurate and derogatory credit,
account and other information concerning Gandarillas to consumer reporting
agencies

48. As a result of the conduct, action and inaction of Furnisher, Gandarillas
has suffered and incurred damages

49. The conduct, actions and inactions of Furnisher was willful, rendering it
liable for punitive damages in an amount to be determined by the Court, according
to 15 U.S.C. § 1681n.

50. In the alternative, Furnisher was negligent, entitling Gandarillas to
recover damages according to 15 U.S.C. § 1681n.

51. Gandarillas is entitled to recover costs and attorney's fees from
Furnisher in an amount to be determined by the Court, according to 15 U.S.C. §
1681n and 15 U.S.C. § 16810.

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[Comenity! Violation of 15 U.S.C. § 16818'2(b)]

52. Gandarillas realleges and incorporates here paragraphs 1 through 9, 13'
15, and 19'33.

53. Comenity violated 15 U.S.C. § 1681s“2(b) byf

(i) failing to fully and reasonably investigate the disputes by Gandarillas of
the negative information in the consumer reports;

(ii) failing to review all relevant information regarding Gandarillas in the

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consumer reports;

(iii) failing to correctly report the results to the consumer reporting agencies
of what an accurate investigation of Gandarillas would have revealed;

(iv) publishing the negative information about Gandarillas to the credit
reporting agencies without also including a notation that the debt Was disputed;

(v) failing to conduct an investigation of the inaccurate information that
gandarillas disputed§

(vi) failing to review all relevant information it received concerning its
account of Gandarillas;

(vii) failing to report the results of its investigations about Gandarillas to the
relevant consumer reporting agencies;

(Viii) failing to report the inaccurate status of the inaccurate information
about Gandarillas to all consumer reporting agencies;

(ix) failing to properly participate, investigate and comply with the
reinvestigations that were conducted by any and all consumer reporting agencies
concerning the inaccurate information disputed by Gandarillas;

(X) failing to provide to the relevant consumer reporting agencies with the
factual information and evidence that Gandarillas submitted to it, and which
proved that the information concerning Gandarillas was inaccurate;

(xi) continuing to furnish and disseminate inaccurate and derogatory credit,
account and other information concerning Gandarillas to consumer reporting

agencies.

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54. As a result of the conduct, action and inaction of Furnisher, Gandarillas
has suffered and incurred damages

55. The conduct, actions and inactions of Furnisher was willful, rendering it
liable for punitive damages in an amount to be determined by the Court, according
to 15 U.S.C. § 1681n.

56. In the alternative, Furnisher was negligent, entitling Gandarillas to
recover damages according to 15 U.S.C. § 16810.

57. Gandarillas is entitled to recover costs and attorney's fees from
Furnisher in an amount to be determined by the Court, according to 15 U.S.C. §
1681n and 15 U.S.C. § 16810.

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[Bo£A: violation of 15 U.s.c. § 16813-2(1>)]

58. Gandarillas realleges and incorporates here paragraphs 1 through 9, 16'
18, and 19'33.

59. BofA violated 15 U.S.C. § 1681s'2(b) by!

(i) failing to fully and reasonably investigate the disputes by Gandarillas of
the negative information in the consumer reports§

(ii) failing to review all relevant information regarding Gandarillas in the

consumer reports;

(iii) failing to correctly report the results to the consumer reporting agencies
of what an accurate investigation of Gandarillas would have revealed§

(iv) publishing the negative information about Gandarillas to the credit

reporting agencies without also including a notation that the debt was disputed;

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(v) failing to conduct an investigation of the inaccurate information that
gandarillas disputed;

(Vi) failing to review all relevant information it received concerning its
account of Gandarillas;

(vii) failing to report the results of its investigations about Gandarillas to the
relevant consumer reporting agencies;

(viii) failing to report the inaccurate status of the inaccurate information
about Gandarillas to all consumer reporting agencies;

(ix) failing to properly participate, investigate and comply with the
reinvestigations that were conducted by any and all consumer reporting agencies
concerning the inaccurate information disputed by Gandarillas;

(X) failing to provide to the relevant consumer reporting agencies with the
factual information and evidence that Gandarillas submitted to it, and which
proved that the information concerning Gandarillas was inaccurate;

(xi) continuing to furnish and disseminate inaccurate and derogatory credit,
account and other information concerning Gandarillas to consumer reporting
agencies

60. As a result of the conduct, action and inaction of Furnisher, Gandarillas
has suffered and incurred damages

61. The conduct, actions and inactions of Furnisher was willful, rendering it
liable for punitive damages in an amount to be determined by the Court, according

w 15 U.s.c. § 1681n.

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62. In the alternative, Furnisher was negligent, entitling Gandarillas to
recover damages according to 15 U.S.C. § 16810.

63. Gandarillas is entitled to recover costs and attorney‘s fees from
Furnisher in an amount to be determined by the Court, according to 15 U.S.C. §

1681n and 15 U.S.C. § 16810.
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WHEREFORE, Gandarillas demands judgment against Defendants forf
(i) actual, statutory and punitive damages;
(ii) attorney‘s fees and costs;
(iii) prejudgment and post-judgment interest;
(iv) any other relief this Honorable Court deems just and proper.

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64. Plaintiff demands trial by jury.

Dated`- 2013'10'15

Coral Gables, Florida
Respectfully submitted,

/s/ Leo Bueno

Fla. Bar #I 716261

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